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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION


MAC’S MARKET, INC.,                      Cause No. MC 19-00003-DWM-JCL
                      Petitioner,             STIPULATION FOR
                                            VOLUNTARY DISMISSAL
vs.                                       PURSUANT TO FED. R. CIV. P.
                                                 41(a)(1)(A)(ii)
U.S. DEPARTMENT OF JUSTICE,
BUREAU OF ALCOHOL, TOBACCO
FIREARMS AND EXPLOSIVES,
                      Defendant.


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      Petitioner Mac’s Market Inc. and Defendant United States Department of

Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives hereby stipulate

under Fed. R. Civ. P. 41(a)(1)(A)(ii) that this action be dismissed with prejudice as

to all claims, causes of action and parties, with each party bearing their own

attorney’s fees and costs.

      DATED this 15th day of April, 2019

                                       KNIGHT NICASTRO, LLC


                                       By:   /s/ Dylan McFarland
                                             Dylan McFarland
                                             Attorney for Petitioner

      DATED this 15th day of April, 2019

                                       KURT G. ALME
                                       United States Attorney


                                       By:   /s/ Chad C. Spraker
                                             Chad C. Spraker
                                             Assistant U.S. Attorney
                                             Attorney for Defendants




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